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13
                           IN THE UNITED STATES DISTRICT COURT
14                             FOR THE DISTRICT OF ARIZONA

15    Living United for Change in Arizona;
      League of United Latin American
16    Citizens
      ADRC Action;
17                                               Case No.___________________
             Plaintiffs,
18                                               COMPLAINT FOR DECLARATORY
             v.                                  AND INJUNCTIVE RELIEF
19
      Katie Hobbs, in her official capacity as
20    Secretary of State of Arizona,

21           Defendant.

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                                             COMPLAINT

1           1.       On March 30, 2022, Governor Doug Ducey of Arizona signed into law

2

3    burdens on eligible Arizona voters in violation of the United States Constitution, the Civil

4    Rights Act of 1964 (CRA), and the National Voter Registration Act (NVRA).

5           2.       HB 2492 was adopted in explicit defiance of federal law and the United

6    States Constitution. After nonpartisan legal staff advised the Arizona legislature that the

7    law likely violates federal law

8    defiance is a purpose of HB 2492.

9           3.       Among other violative provisions, HB 2492 conditions eligible voters

10   ability to exercise their rights to register and to vote based solely on the voter

11   inconsequential choice to use state or federal voter registration form.

12          4.       HB 2492 further conditions eligibility to register and vote on whether voters

13   have or can obtain documentary evidence of their U.S. citizenship and current residence,

14   despite voters already attesting to these facts under penalty of perjury. These logistical and

15   administrative barriers are directly at odds with federal law.

16          5.       HB 2492 severely restricts the right to vote for a class of eligible, registered

17   voters on Arizona       Federal only voters list. Under federal law, these voters are entitled

18   to register and vote in federal elections, even when they cannot provide documentary proof

19   of citizenship.

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            6.       But HB 2492 prohibits eligible Federal only voters from voting by mail,

1    regardless of whether they are physically present, or from otherwi

2    voting system.

3           7.       In an extraordinary step that defies any conception of popular sovereignty,

4    HB 2492 explicitly deprives eligible Federal only voters of their ability to vote for the

5    President of the United States.

6           8.       No other state in the nation has abridged the fundamental right to vote for

7    eligible voters in a such a manner.

8           9.       HB 2492 intentionally discriminates against naturalized U.S. citizens.

9           10.      HB 2492 mandates criminal investigation and prosecution of certain lawful

10   registrants based on outdated citizenship data from unreliable sources.

11          11.      It is well established that the use of outdated citizenship data in voter

12   registration discriminates against naturalized U.S. citizens by imposing burdens on such

13   voters to establish their eligibility that are, by definition, not imposed on native-born U.S.

14   citizens.

15          12.      HB 2492 also mandates that voters provide their                      on their

16   voter registration form even though where someone was born has no connection to any

17   voter qualification under Arizona law.

18          13.      Conditioning voter registration on the provision of information that is

19

20   than to single out naturalized U.S. citizens for harassment, including by election and law

21   enforcement officials.

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            14.    Plaintiffs                                                          League of

1    United Latin American Citizens                                                          , and

2    ADRC Action                 bring this Complaint for Declaratory and Injunctive Relief to

3    remedy the violations alleged herein.

4                                    JURISDICTION AND VENUE

5           15.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

6    and 1343.

7           16.    This Court has personal jurisdiction over Defendant Secretary of State

8    Hobbs, an elected constitutional officer for and resident of the State of Arizona.

9           17.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

10          18.    This Court has authority to issue declaratory and injunctive relief pursuant to

11   28 U.S.C. §§ 2201 and 2202.

12                          FACTUAL AND LEGAL BACKGROUND

13          19.    HB 2492 imposes a host of severe, unnecessary, and discriminatory burdens

14   on Arizona voters at both the registration and voting stages.

15          20.    HB 2492 compels all Arizonans to supply documentary proof of residence to

16   register to vote in any election.

17          21.    It requires officials to reject voter registration applications if the voter

18   declines to provide their place of birth,

19   bearing on voter eligibility.

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            22.    HB 2492 requires documentary proof of U.S. citizenship as an eligibility

1    requirement to register and vote and conditions a voter s ability to register and vote based

2    solely on which type of voter registration form a voter happens to submit.

3           23.    It relegates a group of eligible, registered voters to second-class status by

4    imposing arbitrary limits on how and in which elections they may vote.

5           24.    HB 2492 forces election officials to improperly reject voter registration

6    applications from naturalized U.S. citizen based on outdated and unreliable data, or else

7    face felony prosecution.

8           25.    Finally, it subjects eligible, registered voters to criminal investigation and

9    harassment by the Arizona Attorney General under a vague and overbroad mandate to

10   investigate and prosecute certain eligible, registered voters, based on their purported

11   identification as potential non-U.S. citizens using inaccurate and outdated citizenship data.

12          26.                 burdensome, arbitrary, and discriminatory provisions serve no

13   meaningful governmental purpose.

14          27.    Rather than providing election officials with reliable means to identify

15   ineligible voters, the new law will instead make it more difficult for eligible Arizonans to

16   register and vote, including naturalized U.S. citizens, Tribal members, college and

17   university students, low-income voters, elderly voters, racial and ethnic minorities, voters

18   who move frequently, and voters who have changed their legal name, such as married

19   women.

20          Documentary Proof of Residence

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            28.       HB 2492 violates federal law by requiring that all eligible Arizona voters

1    provide                                                to register to vote in any elections.

2           29.

3    location of re

4    or nonoperating identification number that is properly verified by the county recorder

5

6           30.

7    for identification while voting under Arizona Statute § 16-

8

9           (a) A valid form of identification that bears the photograph, name and address
            of the elector that reasonably appear to be the same as the name and address
10          in the precinct register, including an Arizona driver license, an Arizona
            nonoperating identification license, a tribal enrollment card or other form of
11          tribal identification or a United States federal, state or local government
            issued identification. Identification is deemed valid unless it can be
12          determined on its face that it has expired.

13          (b) Two different items that contain the name and address of the elector that
            reasonably appear to be the same as the name and address in the precinct
14          register, including a utility bill, a bank or credit union statement that is dated
            within ninety days of the date of the election, a valid Arizona vehicle
15          registration, an Arizona vehicle insurance card, an Indian census card, tribal
            enrollment card or other form of tribal identification, a property tax
16          statement, a recorder's certificate, a voter registration card, a valid United
            States federal, state or local government issued identification or any mailing
17
            unless it can be determined on its face that it has expired.
18
            (c) A valid form of identification that bears the photograph, name and address
19          of the elector except that if the address on the identification does not
            reasonably appear to be the same as the address in the precinct register or the
20          identification is a valid United States military identification card or a valid
            United States passport and does not bear an address, the identification must
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            be accompanied by one of the items listed in subdivision (b) of this
            paragraph.
1
            31.      All voters in Arizona registering to vote must attest their legal residence
2
     under the penalty of perjury. And under existing law, documentation of residence is already
3
     provided at the time of voting when necessary.
4
            32.                         Requirement imposes new and duplicative burdens on
5
     voters to access or obtain, copy, and submit the required documents at the time they
6
     register.
7
            33.      The DPOR Requirement will most affect Arizonans who lack a valid Arizona
8
                                           -ID card and will have a more difficult time accessing
9
     and providing the documentation to prove their residence. These disparately burdened
10
     Arizonans include low-income voters, college and university students, Tribal members,
11
     and voters who frequently move.
12
            34.      In recognition of the particular burdens Native voters would otherwise face,
13
     under a stipulation in Gonzalez v. Arizona, members of federally recognized Indian tribes
14
     are entitled to present tribal identification at the polls that does not meet the requirements
15
     of Arizona Statute § 16-579.
16
            35.      The new DPOR Requirement for voter registration under HB 2492 contains
17
     no accommodation for tribal identification that does not include an address or otherwise
18
     does not meet the requirements of Arizona Statute § 16-579.
19

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              36.   As a result, Tribal voters who have identification sufficient to enable them to

1    cast a ballot under the Gonzalez stipulation may nonetheless be prohibited from registering

2    to vote under HB 2492.

3             37.   The DPOR Requirement makes no provision for how people experiencing

4    homelessness can comply with its mandates and register to vote.

5             38.   The DPOR Requirement will also burden voters who would otherwise take

6    advantage of voter registration drives.

7             39.   Additional documentation requirements for registration beyond a

8    standardized form make traditional voter registration activity nearly impossible. Potential

9    voters often do not carry documentary proof of residence with them while out in the

10   community. And those conducting voter registration drives cannot easily incorporate the

11   equipment needed to copy such documentation for submission with paper voter registration

12   forms.

13            40.   Arizona voters may register to vote using either the Arizona Voter

14

15            , which is promulgated by the U.S. Election Assistance Commission              under

16   the NVRA.

17            41.   Arizona voters may also register online (if they have an Arizona Driver

18   License and/or an Arizona non-operating I.D. card issued by the Motor Vehicle Division),

19                                                                              -mandated public

20   agencies.

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            42.

1    only requires attestation of residence and does not require documentary proof of residence.

2    52 U.S.C. § 20505.

3           43.    The NVRA preempts any attempt by states to impose additional

4    requirements to prove citizenship, residence, or any other qualification above and beyond

5    those provided by the Federal Form.

6           44.    HB 2492 seeks to impose a DPOR Requirement on registrants using the

7    Federal Form.

8           45.    The Supreme Court rejected                               impose a documentary

9    proof of citizenship (DPOC) requirement on registrants using the Federal Form less than a

10   decade ago. See Arizona v. Inter Tribal Council of Arizona, 570 U.S. 1, 18 (2013) (holding

11                                                                         al Form

12                        for registering to vote in federal elections).

13          46.

14   preempted by the NVRA under Inter Tribal Council.

15          47.    HB 2492                Requirement prohibits county election officials from

16   registering otherwise eligible voters    including those who submitted a completed Federal

17   Form unless they provide DPOR, in flagrant violation of federal law.

18          Birthplace Requirement

19          48.    HB 2492 mandates that eligible Arizonans provide their birthplace when

20   registering to vote and directs county election officials not to register voters who fail to list

21   their place of birth. Ariz. Rev. Stat. § 16-121.01.

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               49.                 birthplace is wholly immaterial to their qualifications to vote.

1    Arizona         voter qualifications require that a person be eighteen years old, a current U.S.

2    citizen, and a current resident of Arizona and the specific jurisdiction in which they are

3    registering to vote.

4              50.      HB2492 imposes an additional qualification that Arizona voters be able to

5    obtain and provide documentary proof of citizenship.

6              51.      Arizona has no legitimate reason to require potential voters to disclose their

7    place of birth to register to vote.

8    eighteen, a resident of Arizona and the specific jurisdiction in which they are registering,

9    or currently citizen of the United States.

10             52.      This requirement,

11   aggressive investigation and prosecution of alleged noncitizens (based on faulty data that

12   will inevitably target naturalized citizens), demonstrates that                       Birthplace

13   Requirement is intended to, and will, intimidate eligible voters born outside of the United

14   States.

15             53.                    Birthplace Requirement unlawfully discriminates against

16   naturalized U.S. citizen voters based on their country of origin by requiring such voters to

17   disclose not just that they are U.S. citizens but that they are naturalized U.S. citizens.

18             54.      The Federal Form does not require, or include a space for, voters to identify

19   their place of birth at all, because it is not relevant to any lawful voter qualification.

20             55.      To the extent HB 2492 seeks to impose the Birthplace Requirement on

21   Federal Form applicants, it is preempted by the NVRA.

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              56.   The NVRA also requires certain mandated public assistance agencies to

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2    20506.

3             57.   To the extent HB 2492 seeks to impose the Birthplace Requirement on

4    applicants registering at NVRA-mandated agencies, it is preempted by the NVRA.

5             58.   Under the NVRA, a voter registration application                           motor

6    vehicle authority

7    prevent duplicate voter registrations; and (ii) enable State election officials to assess the

8    eligibility of the applicant and to administer voter registration and other parts of the election

9                         § 20504.

10            59.   The Arizona Motor Vehicle Division implements these provisions, and the

11   Birthplace Requirement is preempted by the NVRA to the extent it is inconsistent with the

12                                                                 tions.

13            60.   The Birthplace Requirement violates the Civil Rights Act of 1964, 52 U.S.C.

14   § 10101(a)(2)(B), by denying the right to register and to vote to eligible Arizonans who

15   omit their place of birth from their voter registration application, because a pers

16   of birth is immaterial to determining whether an individual is eligible to vote in Arizona.

17            Documentary Proof of U.S. Citizenship

18            61.   HB 2492 violates federal law by requiring Arizonans to provide documentary

19   proof of U.S. c                        as an eligibility requirement to register and to vote.

20            62.   Arizona is the only state in the country that enforces a DPOC requirement

21   for citizens to register and vote.

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            63.                  DPOC Requirements impose additional severe, undue, and

1    discriminatory burdens on the right to vote for eligible Arizonans who lack DPOC.

2           64.    Per expert estimates, as much as seven percent of United States citizens lack

3    ready access to citizenship documents. In Arizona, this means that as many as 353,495

4    eligible voters lack DPOC.

5           65.    HB 2492 would deny these eligible voters their rights to register and to vote.

6           66.

7    on its voters has a substantial history in the federal courts.

8           67.    In 2004, Arizona enacted Proposition 200, which, among other things,

9    imposed a documentary proof of citizenship requirement for voter registration.

10          68.                                                                       request to

11   include its DPOC requirement in the state-specific instructions for voter registration in

12   Arizona on the Federal Form.

13          69.    After years of litigation, the Supreme Court

14   requirement that

15   requirement under Proposition 200 as applied to the Federal Form. Arizona v. Inter Tribal

16   Council of Arizona, 570 U.S. 1, 18 (2013)

17          70.    Rather than abandoning the Proposition 200 DPOC requirement in light of

18                                                                         enacted a dual voter

19   registration system allowing it to enforce its DPOC requirement only for state and local

20   elections. Ariz. Op. Atty. Gen. No. I13-011 (2013).

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            71.    From 2014 to 2018, Arizona operated this dual voter registration system in a

1    manner that not only imposed the undue burden of documentary proof of citizenship on

2    eligible voters but also arbitrarily disenfranchised tens of thousands of voters depending

3    solely on whether registered using the State Form or the Federal Form.

4           72.    If the voter completed the Federal Form without DPOC, the voter was

5    registered to vote in federal elections but not state elections and advised to submit DPOC

6    to vote in state elections. These voters were assigned to the Federal-Only Voter List.

7           73.    If the voter applied using either a State Form or a Federal Form and did

8    supply DPOC, they could vote in all eligible local, state, and federal elections. These voters

9    were assigned to the Full Ballot Voter List.

10          74.    If the voter completed the State Form without DPOC, the voter was not

11   registered for state or federal elections and, in violation of prior court order, was not

12   advised of the Federal Form option.

13          75.    In 2018, LULAC and ASA sued the-Secretary of State in LULAC v. Regan,

14   No. 2:17-cv-04102-DGC (D. Ariz.), alleging that the dual-registration system violated the

15   NVRA and the United States Constitution.

16          76.     The LULAC parties reached a consent decree in which the Secretary of State

17   agreed not to condition voter registration based on the arbitrary distinction of whether a

18   voter used the State Form or the Federal Form to apply for voter registration.

19          77.    The LULAC v. Reagan consent decree established, in relevant part, that

20   Arizona would (a) register eligible applicants whose registration was not accompanied by

21   documentary proof of citizenship and whose citizenship could not be verified through the

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     Motor Vehicle Division to the Federal-Only Voter List and (b) provide a ballot to vote in

1    all available federal elections to all registered voters on the Federal-Only Voter List. See

2    Consent Decree, LULAC v. Reagan, No. 2:17-cv-04102-DGC, ECF No. 37 (D. Ariz. June

3    18, 2018).

4           78.    The Secretary codified the consent decree framework in the Arizona

5    Elections Procedures Manual.

6           79.    HB 2492 abrogates the consent decree and reinstates the prior arbitrary

7    system under which voter registration is conditioned on whether a voter submits the State

8    Form or Federal Form.

9           80.    Under HB 2492, if an eligible voter provides DPOC at the time of registration

10   applies using a State Form or Federal Form, they can vote in all available local, state, and

11   federal elections.

12          81.    If an eligible voter without DPOC submits the Federal Form, the voter will

13   be registered to vote only in certain federal elections, as described below.

14          82.    But if that same voter applies using the State Form and does not provide

15   DPOC, HB 2492 instructs that their registration be rejected outright.

16          83.    This arbitrary distinction based on paperwork is unconstitutional and requires

17   the Secretary to violate a federal consent decree.

18          84.    Additionally, nothing in HB 2492 requires that rejected State Form

19   applicants be advised of the Federal Form option, in violation of their federal rights and

20   prior court order. See Gonzalez v. Arizona, No. 06-cv-1268, 2013 WL 7767705, at *1 (D.

21   Ariz. Sept. 11, 2013).

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            Severe and Disparate Restrictions on Federal-Only Voters

1           85.    HB 2492 further discriminates against and imposes a severe, undue, and

2    discriminatory burden on the class of eligible Arizona voters who have exercised their right

3    to register for federal elections without supplying DPOC.

4           86.    Before HB 2492, an eligible voter registered on the Federal-Only Voter List

5    received a ballot to vote in all relevant federal elections and was treated the same in all

6    other respects as a registered voter on the Full Ballot Voter List.

7           87.    As mandated by federal law and LULAC v. Reagan consent decree, registered

8    voters on the Federal-Only Voter List are entitled to

9    opportunities and to vote in presidential and congressional elections.

10          88.    HB 2492 arbitrarily discriminates against eligible, registered voters on the

11   Federal-Only Voter Lists.

12          89.    First, HB 2492 denies this class of eligible, registered voters the right to vote

13   by mail, even if they are not physically present in the State to cast a ballot, and denies their

14   right to vote early, on an equal basis as other Arizona voters.

15          90.    Second, HB 2492 denies this class of eligible, registered voters the right to

16   vote in presidential elections.

17          91.    HB2492 singles out this class of eligible, registered voters for discriminatory

18   treatment by restricting them to voting only in-person on election day and only in

19   congressional elections.

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               92.                arbitrary, discriminatory and burdensome limits on voting for

1    registrants on the Federal-Only Voter List violate federal constitutional and statutory

2    rights.

3              Discrimination Against Naturalized U.S. Citizen Voters

4              93.   HB 2492 compels election officials to reject valid voter registration

5    applications from eligible voters based on vague criteria and using faulty inputs from

6    databases that are known to have unreliable citizenship data and, in practice, target

7    naturalized U.S. citizens.

8              94.   HB 2492 mandates

9                                                                 or currently registered voter,

10   without any requirement for the veracity of those open-

11             95.   The resources that HB 2492 mandates election officials check for U.S.

12   citizenship information are notoriously unreliable and contain stale and faulty data that do

13   not accurately reflect citizenship status.

14             96.

15   Motor Vehicles Division, the Social Security Administration, a National Association for

16

17   or fede

18             97.   None of these databases are designed to contain or reflect current U.S.

19   citizenship status.

20             98.   I                                                  expire until the licensee

21   reaches age 65.                                                 fifty years.

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             99.    In recent years, between 12,000 and 15,000 Arizonans have naturalized each

1    year.

2            100.   Arizona Motor Vehicle Division data that a person was not a U.S. citizen at

3                                                                                               ther

4    they are a U.S. citizen today.

5            101.   Nonetheless, HB 2492 requires county recorders to reject the voter

6    registration application of an individual whose MVD record shows they were not a U.S.

7    citizen at the time they obtained their license or non-driver identification card.

8            102.   Any election official who fails to comply with this requirement faces

9    potential felony prosecution.

10           103.               mandated error-prone database checks will lead to inaccuracies

11   and result in election officials rejecting voter registration applications for numerous eligible

12   Arizona voters.

13           104.   This system will fail to reliably identify non-U.S. citizens and instead will

14   discriminate against naturalized U.S. citizens.

15           Harassing Investigations and Wrongful Prosecutions

16           105.   HB 2492 unlawfully subjects eligible, registered voters to targeted

17   harassment and criminal investigation and prosecution by the Arizona Attorney General.

18           106.   HB 2492 requires the Defendant Secretary of State to provide the Attorney

19                                    duals who are registered to vote and who have not provided

20                                                                  ing among lawfully registered

21   voters searching for alleged noncitizens on the rolls.

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            107.     HB 2492 subjects these voters to harassment and criminal investigation

1    under a vague and overbroad mandate that the

2                    investigate and prosecute registered voters based on evidence that they are

3    not U.S. citizens, despite the fact that the identified resources do not have reliable or current

4    data about U.S. citizenship.

5           108.                                             required references for the Arizona

6    Attorney General to check for U.S. citizenship data are the same notoriously unreliable

7    databases identified above known to contain stale and faulty data that do not accurately

8    reflect current citizenship status.

9           109.     Using these outdated and inaccurate inputs

10   resources, HB 2492 subjects these eligible voters to harassment and intimidation by the

11   Arizona Attorney General simply because they are naturalized rather than native-born U.S.

12   citizens.

13          HB 2492 Imposes Severe, Arbitrary, and Discriminatory Burdens

14          110.                severe and undue burdens fall disproportionately on voters who

15   have fewer resources, have less access to the tools and assistance necessary to comply with

16                many confusing and restrictive requirements, and who are more likely to have

17   experienced past and present discrimination.

18          111.     Millions of Americans lack ready access to documents to prove their U.S.

19   citizenship. For example, statistics published by the U.S. Department of State indicate that

20   approximately 56% of Americans lack a valid U.S. passport. A 2006 study showed that 5-

21   6% of Americans lacked access to both a U.S. passport and a birth certificate.

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            112.     DPOC requirements are particularly burdensome for elderly people,

1    including African Americans born during the era of de jure segregation, who may not have

2    been born in hospitals and whose births may not have been officially recorded. For these

3    voters, birth certificates may be impossible to obtain, and without a birth certificate, they

4    may be unable to obtain other forms of DPOC.

5           113.     HB 2492 also imposes severe burdens on people who have changed their

6    name, including through marriage. For example, the 2006 survey conducted by the Brennan

7    Center demonstrated that as few as 48% of voting-age women with ready access to their

8    birth certificate have a birth certificate that reflects their current name, and only 66% of

9    voting-age women have access to any documentary proof of citizenship reflecting their

10   current name.

11          114.     Low-income voters are particularly likely to lack access to DPOC and

12   DPOR. For example, citizens earning less than $25,000 per year are more than twice as

13   likely to lack access to DPOC than other Americans, and at least 12% of voting-age citizens

14   who earn less than $25,000 per year do not have a readily available U.S. passport,

15   naturalization document, or birth certificate. Low-income voters are also more likely to

16   move more frequently and have difficulty maintaining and providing DPOR.

17          115.     The burden imposed by DPOC requirements on low-income voters is

18   compounded by the financial obstacles to obtaining DPOC. The cost to obtain or replace

19   U.S. citizenship documents can be insurmountable for some Americans; a birth certificate

20   can cost as much as $30 in fees, a first-time application for a passport card costs $55, plus

21   the cost of photos, and a replacement naturalization certificate costs $555.

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            116.       In addition to those fees, applicants for passports and birth certificates may

1    need to obtain multiple additional documents to prove their U.S. citizenship or identity,

2    which in turn require additional costs. In some instances, individuals must also bear the

3    cost of traveling long distances, and taking off or losing hours at work, to obtain citizenship

4    documents.

5           117.       Obtaining U.S. citizenship documents also takes time. The U.S. State

6    Department estimates a processing time of ten to twelve weeks for passports. Many states

7    take several weeks to fulfill birth certificate requests. For example, a mailed request for a

8    birth certificate takes ten to twelve weeks to complete in New York and eight to ten weeks

9    in Georgia. Those timelines can be expedited but doing so requires payment of an

10   additional fee or travel to the relevant state    cost-prohibitive options that are not feasible

11   for individuals who are struggling to afford even the base fee to obtain a birth certificate.

12          118.       According to the                        American Community Survey, more

13                                                                                        State other

14   than Arizona, and more than 428,000 are foreign-born naturalized citizens.

15          119.                   DPOC and DPOR requirements put significant strain on voter

16   registration work by state agencies and nonprofit civic organizations.

17          120.       Advocating for greater civic participation by conducting voter registration

18   drives activity the NVRA affirmatively encourages, see 52 U.S.C. § 20505(b)            is costly

19   in time and resources, and HB 2492 makes Plaintiffs work more difficult and advocacy

20   less effective.

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            121.     Even those eligible Arizonans who do have access to the specified documents

1    establishing their U.S. citizenship or their current residence often do not carry them to

2    locations where civic organizations conduct voter registration drives.

3           122.     Civic organizations likewise cannot be expected to carry expensive

4    equipment necessary to scan those documents and attach them to completed voter

5    registration applications in order to serve their mission participating in the voter

6    registration process.

7                                             PARTIES

8                                              Plaintiffs

9           Living United for Change in Arizona

10            123.

11   membership organization based in Arizona. It is led by community members fighting for

12   social, racial, and economic justice.

13            124.                                                                           many

14   of whom are people of color, low income, students, and/or elderly voters, and are therefore

15   significantly more likely to lack requirement documentation under HB 2492.

16            125.                           also consists of naturalized U.S. citizens who will be

17   targeted for specific classifications and disfavored treatment under the requirements and

18   processes established in HB 2492.

19            126. In advance of the 2020 election, LUCHA organized both in-person and

20   virtual voter registration drives and educated voters about important deadlines, how voters

21   could exercise and protect their right to vote, and issues and candidates on the ballot.

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             127. LUCHA plans to conduct the same voter registration and education activities

1    for future elections. However, as a result of the requirements imposed by HB 2492,

2    LUCHA must divert money, personnel, time, and resources away from other activities.

3    Specifically, LUCHA must divert its scarce resources toward efforts to ensure that voters,

4    particularly those who are low income, can navigate the DPOC, DPOR, and birthplace

5    requirements mandated by HB 2492 and can obtain the necessary documentation to comply

6    with the many changes in law.

7            128. LUCHA will spend more time training volunteers to educate voters about

8    these new restrictions, create additional digital voter education campaigns to combat

9    misinformation about these requirements, and conduct additional outreach to Spanish-

10   speaking, tribal, and rural communities to ensure that these efforts are effective. These

11   diversions will continue to occur until the 2022 election and beyond for as long as these

12   requirements are in effect.

13           129. HB 2492 s disparate treatment of otherwise eligible voters based on whether

14   they list their birthplace and are able to provide DPOC and DPOR means that

15   voter registration drive organizers must take additional time and training to inform voters

16   of the many new changes in the law and the threats of criminal investigation and

17   prosecution.

18           130.

19

20           131. LUCHA expects that many of its members and the community members that

21   it seeks to register to vote will be intimidated and discouraged from registering to vote,

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     even though they are eligible, because of the unconstitutional limits imposed on the

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2             132. Because LUCHA conducts voter registration drives at community events

3    with the goal of completing voter registrations on-site, potential LUCHA members and

4                                                                                      or DPOR with

5    them cannot fully participate.

6             133. Even if applicants happen to have DPOC or DPOR at a LUCHA voter

7    registration drive, LUCHA must now incur costs and addition burdens to purchase and

8    maintain mobile scanning and printing equipment to facilitate voter registration

9    applications that comply with HB 2492.

10            134. As a result of Defendant s enforcement of the unconstitutional and unlawful

11   provisions of HB 2492, LUCHA will be overburdened and unable to conduct successful

12   voter registration drives; LUCHA will be forced to dedicate more resources and time in

13   order to register the same number of members and voters; LUCHA will incur costs to

14   purchase and maintain equipment to ensure its voter registration advocacy complies with

15   HB 2492; and fewer LUCHA members and the voters LUCHA reaches will be able to

16   successfully register to vote and then cast a ballot in all elections for which they are eligible.

17          League of United Latin American Citizens

18            135. Plaintiff League of United Latin American Citizens (LULAC) is the Arizona-

19   based branch of the              oldest and largest national Latino civil rights organization.

20   LULAC is a nonpartisan, nonprofit membership organization with a presence in most of

21   the fifty states, including Arizona. Founded in 1929, LULAC works to advance the

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     economic condition, educational attainment, political influence, health and civil rights,

1    including voting rights, of the Hispanic population of the United States.

2               136. LULAC members live across the State. LULAC has local councils

3    throughout Arizona, including in Phoenix, San Luis, Tucson, Tempe, Yuma and other

4    smaller communities.

5               137. LULAC      members in Arizona include naturalized U.S. citizens, low-

6    income voters, students, and voters who move frequently or have changed their name.

7               138. LULAC members in Arizona are adversely affected by the undue burdens

8                  policies place on eligible Arizona citizens. Over 400,000 eligible Latino

9    citizens in Arizona, or nearly half of eligible Latinos in Arizona, are not currently registered

10   to vote.

11              139.

12   participation of its members and Arizona voters. LULAC has committed and continues to

13   commit time and resources to voter registration drives in Arizona.

14              140. Due to              burdensome and confusing restrictions on voting and

15   registration eligibility and processes, LULAC will be forced to divert its resources from its

16   other programs supporting its mission. HB 2492 will force LULAC to redirect scarce

17   funding to help voters comply with its new requirements. These diversions will continue

18   to occur until the 2022 election and beyond for as long as these requirements are in effect.

19              141.           disparate treatment of otherwise eligible voters based on whether

20   they list their birthplace and are able to provide DPOC and DPOR means that voter

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     registration drive organizers must inform voters of the many new changes in the law and

1    the threats of criminal investigation and prosecution.

2             142. When                                  assisted voters in Arizona lack DPOC

3    or DPOR, they will be denied the right to register and the right to vote

4    eligibility requirements.

5             143. LULAC expects that many of its members and the community members that

6    it seeks to register to vote will be intimidated and discouraged from registering to vote,

7    even though they are eligible, because of the unconstitutional limits imposed on the

8    exercise of their franchise by                 requirements.

9             144. Since LULAC conducts voter registration drives on-site in communities with

10   the goal of completing voter registrations on-site, potential voters who do not have Arizona

11                                               or DPOR with them cannot fully participate.

12            145. Even if applicants happen to have DPOC or DPOR at a LULAC voter

13   registration drive, LULAC must now incur costs and addition burdens to purchase and

14   maintain mobile scanning and printing equipment to facilitate voter registration

15   applications that comply with HB 2492.

16            146. As a result of Defendant s enforcement of the unconstitutional and unlawful

17   provisions of HB 2492, LULAC will be overburdened and unable to conduct successful

18   voter registration drives; LULAC must dedicate and divert more resources and time in

19   order to register the same number of members and voters; LULAC will incur costs to

20   purchase and maintain equipment to ensure its voter registration advocacy complies with

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     HB 2492; and fewer LULAC members and the voters LULAC will be able to successfully

1    register to vote and then cast a ballot in all elections for which they are eligible.

2

3             147.                                                                       , nonprofit

4    membership organization based in Arizona. ASA is student led and represents the

5    collective interest of the over 140,000 university students and over 400,000 community

6    college students in Arizona. The organization advocates at the local, state, and national

7    levels for the interests of students. As a part of its mission, ASA encourages students

8    throughout Arizona to register to vote through voter registration activity. ASA has

9    committed and continues to commit time and personnel to voter registration drives in

10   Arizona.

11            148.                             of numerous backgrounds throughout Arizona, are

12   acutely harmed by the undue burdens HB                requirements place on eligible Arizona

13   citizens. Many students are young adults who are just becoming eligible to vote and

14   therefore must register for the first time. Students in Arizona living on campuses often do

15   not have easy access to their birth certificates or other underlying citizenship

16   documentation. Students in Arizona move frequently and have less access to documents

17   proving their place of residence.

18            149. Many students eligible to vote in Arizona have out-of-                          s

19   that do not meet the statutory DPOC and DPOR requirements. Many other students cannot

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              150. ASA has regularly conducted and will continue to conduct voter registration

1    drives in Arizona                                 . These voter registration drives focus on

2    registering students, many of whom are first time voters and unfamiliar with the voter

3    registration system. ASA conducts its voter registration drives on school sites throughout

4    Arizona.

5             151.

6    registration eligibility and processes, ASA will be forced to divert its resources from its

7    other programs supporting its mission. HB 2492 will force ASA to redirect scarce funding

8    to purchase additional equipment and educational materials to help voters comply with the

9    new voting and registration scheme, and to commit further staff and volunteer time and

10   training to help guide voters through the additional requirements. These diversions will

11   continue to occur until the 2022 election and beyond for as long as these requirements are

12   in effect.

13            152. HB 2492 s disparate treatment of otherwise eligible voters based on whether

14   they list their birthplace and are able to provide DPOC and DPOR means that voter

15   registration drive organizers must inform voters of the many new changes in the law and

16   the threats of criminal investigation and prosecution.

17            153. W                                                             or DPOR, they

18   will be ineligible to regis

19            154. ASA expects that many of its members and the community members that it

20   seeks to register to vote will be intimidated and discouraged from registering to vote, even

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     though they are eligible, because of the unconstitutional limits imposed on the exercise of

1    their franchise by

2             155. Because ASA conducts voter registration drives at schools with the goal of

3    completing voter registrations on-site, potential ASA members and voters who do not have

4                                                              or DPOR with them cannot fully

5    participate.

6             156. Even if applicants happen to have DPOC or DPOR at an ASA voter

7    registration drive, ASA must now incur costs and addition burdens to purchase and

8    maintain mobile scanning and printing equipment to facilitate voter registration

9    applications that comply with HB 2492.

10            157. As a result of Defendant s enforcement of the unconstitutional and unlawful

11   provisions of HB 2492, ASA will be overburdened and unable to conduct successful voter

12   registration drives; ASA will be forced to dedicate more resources and time in order to

13   register the same number of members and voters; ASA will incur costs to purchase and

14   maintain equipment to ensure its voter registration advocacy complies with HB 2492; and

15   fewer ASA members and the voters ASA reaches will be able to successfully register to

16   vote and then cast a ballot in all elections for which they are eligible.

17          ADRC Action

18            158. ADRC Action is a nonpartisan, nonprofit organization based in Arizona. It

19   is dedicated to empowering community members and encouraging civic participation.

20   ADRC Action advocates for equitable representation for all Arizonans and works closely

21   with community leaders to protect our democracy and is committed to dismantling

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     structural barriers to democratic participation, supporting community self-determination,

1    and investing in local leadership.

2           159.   ADRC Action is the sponsor of the Arizona ballot measure committee

3    Arizonans for Free and Fair Elections (ADRC Action). This ballot measure committee is

4    circulating petition I-16-2022, which

5                  Restores permanent early voting list. Provides same-day, automatic,
                   and online voter registration. Makes voting easier for disabled people.
6                  Reduces cancelation causes for voter registration. Ensures voters can
                   vote in any in-county precinct Expands polling places on Indian lands,
7                  voter registration, early voting, mail voting, early voting sites, and
                   voting rights for some under guardianship. Allows entrusting another
8                  person to return one's voted early ballot. Specifies process for
                   correcting signature problems on early voting envelopes. Allows
9                  Clean Elections grants for election administration. Specifies sufficient
                   requirements for voter registration, identification, and early voting.
10                 Safeguards against registering ineligible people to vote. Allows
                   providing refreshments to waiting voters. Restricts gifts from
11                 lobbyists, reduces privately funded candidates' contribution limits,
                   and increases funds available to Clean Elections candidates. Requires
12                 clear explanation of statewide ballot measures. Limits judicial review
                   of initiative and referendum petitions and protects signatures from
13                 elimination based on: county of the signer; another writing signers
                   name, address or date; circulators failure to respond to a subpoena or
14                 strictly comply with technical requirements. Enhances ballot privacy.
                   Restricts reviews and subpoenas concerning ballots and election
15                 material. Stabilizes presidential election process. Creates voluntary
                   tax checkoff. Increases lobbyist registration fees and corporate
16                 minimum tax for some.

17   Initiative, Referendum and Recall Applications, Overview I-16-2022, available at

18   https://apps.arizona.vote/info/irr/2022-general-election/33/0.

19           160. ADRC Action supports voter registration activities in the State of Arizona.

20   As a result of Defendant s enforcement of the unconstitutional and unlawful provisions of

21   HB 2492, will be forced to divert its resources from its other programs supporting its

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     mission. HB 2492 will force ADRC Action to redirect scarce funding to help voters comply

1    with the new voting and registration scheme, and to commit further staff and volunteer

2    time and training to help guide voters through the additional requirements. These

3    diversions will continue to occur until the 2022 election and beyond for as long as these

4    requirements are in effect.

5                                             Defendant

6             161. Defendant Katie Hobbs is the Arizona Secretary of State, a statewide elected

7    public officer, and is named in her official capacity.

8             162. The Secretary of State serves as the Chief Election Officer for Arizona. Ariz.

9    Rev. Stat. § 16-142. The Secretary of State is the public officer responsible for supervising

10   voter registration throughout the state and providing binding regulations and guidelines for

11   voter registration. Id.; see also Arizona Democratic Party v. Reagan, No. CV-16-03618,

12

13   promulgate rules and procedures for elections, such as voter registration, which

14   encompasses determining voter registration deadlines. . . . Any person who does not abide

15                                                                   She is sued in her official

16   capacity.

17                                            CLAIMS

18     Count 1: Undue Burden on the Right to Vote, First and Fourteenth Amendment
                                   (42 U.S.C. § 1983)
19
              163. Plaintiffs restate and incorporate by reference all allegations above as though
20
     fully set forth in this paragraph.
21

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               164.

1                                        McCutcheon v. FEC, 572 U.S. 185, 191 (2014). The

2    Supreme Court

3                                                                                             First

4    Amendment and the Equal Protection Clause of the Fourteenth Amendment. See Burdick

5    v. Takushi, 504 U.S. 428, 433-

6                                                    Reynolds v. Sims, 377 U.S. 533, 562 (1964)

7    (quoting Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886)).

8              165. Further, voting and participation in the electoral process is a form of speech

9    and expression. It is the ultimate form of political speech and association and is entitled to

10   First Amendment protection. See Arizona Libertarian Party v. Reagan, 798 F.3d 723, 728-

11                           estrictions on voting can burden equal protection rights as well as

12   interwoven strands of liberty protected by the First and Fourteenth Amendments       namely,

13   the right of individuals to associate for the advancement of political beliefs, and the right

14   of qual

15   (internal citations and quotations omitted).

16             166. When analyzing the constitutionality of a restriction on voting, the Court

17                                                   the asserted injury to the rights protected by

18

19   precise interests put forward by the State as justifications for the burden imposed by its

20

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                                      Burdick, 504 U.S. at 434 (quoting Anderson v. Celebrezze,

1    460 U.S. 780, 789 (1983)).

2              167. HB           requirements, together and individually, impose severe and undue

3    burdens on                        right to vote in violation of the Equal Protection Clause of

4    the Fourteenth Amendment and the First Amendment.

5              168. HB 2492 conditions the right to register and to vote on what type of

6    registration form   the State Form or the Federal Form      an eligible voter happens to use.

7              169.

8    her place of birth, an immaterial requirement that will intimidate naturalized citizen voters

9    from registering to vote.

10             170. HB 2492 further conditions                                            right to

11   register and their right to vote on whether the voter can access, copy, and submit

12   documentary proof of residence and of citizenship during the registration and/or voting

13   stages.

14             171. HB 2492 prohibits a class of eligible, registered voters on the Federal Only

15   Voter List from voting using any method other than in-person on election day, and bars

16   that class of voters from voting in presidential election altogether.

17             172. HB 2492 also subjects voters to rejection of their voter registration

18   applications altogether based on faulty and stale data on U.S. citizenship.

19             173. HB 2492 further subjects voters to harassing and intimidating investigation

20   and prosecution based on faulty and stale data on citizenship, disincentivizing eligible

21   Arizonans from registering to vote.

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               174.                                   are severe. Indeed, at numerous stages they

1                                                                                 . See Dudum v.

2    Arntz, 640 F.3d 1098, 1108 (9th Cir. 2011) (citing Ayers-Schaffner v. DiStefano, 37 F.3d

3    726 (1st Cir. 1994)) (recognizing that a state policy in which

4                                                              constitutes a

5

6              175. Further, HB 2492    restrictive and undue requirements on registering and

7    voting disproportionately impose more significant burdens on certain categories of voters

8     for example, naturalized U.S. citizens, Tribal members, college and university students,

9    low-income voters, elderly voters, racial and ethnic minorities, voters who frequently

10   move, and voters who have changed their legal name, such as married women.

11             176. The challenged HB 2492 provisions are subject to strict or heightened

12   scrutiny because they impose severe and disparate burdens on the right to vote, in some

13   instances requiring complete denial of the right to vote for eligible and registered Arizona

14   voters.

15             177. The challenged HB 2492 provisions do not advance any legitimate regulatory

16   interest. They serve little purpose other than to prevent qualified Arizona citizens from

17   voting in eligible elections and to deter civic organizations from conducting voter

18   registration drives.

19             178.                     d goal of increasing

20   are at best pretextual, and these restrictions are more likely to undermine than reinforce

21   confidence in Arizona

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                179. Regardless, furthering those interests does not necessitate burdening

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2               180.                           cannot withstand even rational basis review, much

3    less the strict or heightened scrutiny applied prevent severe and undue burdens on the right

4    to vote.

5                Count 2: National Origin Discrimination, Fourteenth Amendment
                                        (42 U.S.C. § 1983)
6
                181. Plaintiffs restate and incorporate by reference all allegations above as though
7
     fully set forth in this paragraph.
8
                182. HB 2492 discriminates between Arizona citizens based on their national
9
     origin by imposing disparate requirements and policies affecting naturalized U.S. citizens,
10
     in violation of the Equal Protection Clause. Hernandez v. Texas, 347 U.S. 475, 482 (1954).
11
     Such classifications based on national origin are inherently suspect and subject to strict
12
     scrutiny. Graham v. Richardson, 403 U.S. 365, 371-72 (1971).
13
                183. HB 2492 classifies and subjects naturalized U.S. citizens to disfavored
14
     treatment by imposing more burdensome registration and voting requirements, requiring
15
     attestation of their place of birth to register, and subjecting them to wrongful and harassing
16
     criminal investigations and prosecutions.
17
                184. HB 2492     discriminatory classifications fail strict scrutiny, or any lesser
18
     level of review.
19
                185. The challenged HB 2492 provisions are not narrowly tailored to serve any
20

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     interest and serve little purpose other than to subject naturalized U.S. citizen voters to

1    disfavored treatment and prevent naturalized Arizona citizens from voting.

2             186.

3    elections is                                                    restrictions are more likely to

4    undermine than reinforce confidence in Arizona

5             187.

6    less the heightened scrutiny applied to discriminatory classifications and restrictions on the

7    right to vote.

8                     Count 3: Unlawful Discrimination, Fourteenth Amendment
                                         (42 U.S.C. § 1983)
9
              188. Plaintiffs restate and incorporate by reference all allegations above as though
10
     fully set forth in this paragraph.
11
              189. HB 2492 intentionally and arbitrarily discriminates against eligible
12
     registered voters based on whether they have applied using a State Form or a Federal Form.
13
     Based on this arbitrary difference, in many cases eligible citizens seeking registration using
14
     the Federal Form will be registered while similarly situated eligible citizens seeking
15
     registration using the State Form will not be registered.
16
              190. HB 2492 intentionally and arbitrarily discriminates against eligible,
17
                                                Only Voter List. Under HB 2492, eligible and
18
     registered voters placed on the Federal
19
     early voting opportunities and from voting in presidential elections; they are constrained
20
     to exercise their right to vote only in-person on election day and only to cast a ballot for at
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     most two congressional offices. Similarly situated eligible voters for federal elections are

1

2    offices.

3               191.

4    which applies to arbitrary treatment of voters in accessing the fundamental right to vote.

5                                                              also fail rational basis review.

6               192. The challenged HB 2492 provisions are not narrowly tailored to serve any

7

8    legitimate regulatory interest, and serve little purpose other than to subject eligible voters

9    to disfavored treatment based on which voter registration form they use and prevent eligible

10   Arizona citizens from voting.

11              193.                                                                              is

12                                                       restrictions are more likely to undermine

13   than reinforce confidence in Arizona

14              194.

15   less the heightened scrutiny applied to discriminatory classifications and restrictions on the

16   right to vote.

17                     Count 4: Immaterial Omission On Voter Registration Form
                                    (52 U.S.C. § 10101(a)(2)(B)).
18
                195. Plaintiffs restate and incorporate by reference all allegations above as though
19
     fully set forth in this paragraph.
20

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             196. The Civil Rights Act of 1964 prohibits states and persons acting under color

1                                                                              error or omission

2 on any record or paper relating to any application, registration, or other act requisite to

3 voting, if such error or omission is not material in determining whether such individual is

4 qualified under State law to vote in such electio

5            197. HB 2492 requires state and local officials to reject voter registration

6 applications and deny the right to vote to any individual who omits their place of birth from

7 their state voter registration form.

8            198.

9 under Arizona state law.

10           199.                                                                    of 1964.

11                                    PRAYER FOR RELIEF

12         WHERFORE, Plaintiffs respectfully pray that this Court:

13         (1)      Enter judgment in favor of Plaintiffs and against Defendant on the claims for

14                  relief as alleged in this Complaint;

15         (2)      Enter a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202

16                  declaring that the challenged HB 2492 provisions, facially and as-applied,

17                  violate the Equal Protection Clause of the Fourteenth Amendment and the

18                  First Amendment;

19         (3)      Enter a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202

20                  declaring that the Birthplace Requirement in HB 2492 violates the Civil

21                  Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B);

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     (4)   Grant Plaintiffs preliminary and/or permanent injunctive relief by:

1                   a.     Ordering that Defendant is prohibited from enforcing the

2                   challenged HB 2492 provisions with respect to any election;

3                   b.     Ordering that Defendant is prohibited from rejecting or causing

4                   to be rejected any voter registration or voter registration application

5                   on the grounds of the challenged HB 2492 provisions;

6                   c.     Ordering that Defendant is prohibited from transmitting any

7                   voter registration list for the purpose and/or effect of investigating

8                   and/or prosecuting voters on the grounds of the challenged HB 2492

9                   provisions;

10   (5)   Retain jurisdiction over the Defendant for such period of time as may be

11                                                s compliance with relief ordered by this

12         Court;

13   (6)                                                                            U.S.C.

14         § 1988; and

15   (7)   Grant Plaintiffs such other and further relief as may be just and equitable.

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     Date: March 31, 2022                Respectfully submitted,

1

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11

12
                                                             Attorneys for Plaintiffs
13
                                                 *Pro Hac Vice Motion forthcoming
14

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